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6               IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,         )       No. CR-F-94-5011 OWW
                                       )
10                                     )       ORDER STRIKING PETITIONER'S
                                       )       SECOND "NOTICE FO APPEAL OF
11                    Plaintiff/       )       FINAL SENTENCE PURSUANT TO
                      Respondent,      )       18 § [sic] 3742"
12                                     )
               vs.                     )
13                                     )
                                       )
14   LUIS ENRIQUE ESTRADA-             )
     HERNANDEZ,                        )
15                                     )
                                       )
16                    Defendant/       )
                      Petitioner.      )
17                                     )
                                       )
18
          On April 20, 2009, Luis Enrique Estrada-Hernandez
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     ("Petitioner"), proceeding in pro per, filed a second pleading
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     captioned “Notice of Appeal of Final Sentence Pursuant to 18 §
21
     [sic] 3742.”    Petitioner asserts that he “wishes to appeal the
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     illegal sentence imposed inviolation [sic] of the law and as a
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     result of the incorrect application of the guidelines, pursuant
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     to 18 § [sic] 3742(a).”     Petitioner asserts that the Court has
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     jurisdiction pursuant to “§ 3231 and § 3742.”
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1         Petitioner’s pleading is STRICKEN.

2         Petitioner was found guilty by jury verdict of conspiracy to

3    manufacture and distribute methamphetamine and of manufacturing

4    methamphetamine and aiding and abetting.        Petitioner was

5    sentenced on October 10, 1995 to 290 months incarceration.

6    Petitioner appealed his conviction and sentence to the Ninth

7    Circuit.    The Ninth Circuit affirmed Petitioner’s conviction and

8    sentence.     See United States v. Magallon, 124 F.3d 214 (9th

9    Cir.1997).     Petitioner filed a motion to vacate, set aside or

10   correct sentence pursuant to 28 U.S.C. § 2255 on March 25, 1998

11   (Doc. 517).     Petitioner’s Section 2255 motion was denied by Order

12   filed on September 17, 1998 (Doc. 531).        A Certificate of

13   Appealability was denied by the Court on January 4, 1999 (Doc.

14   543).   The Ninth Circuit denied a Certificate of Appealability on

15   March 18, 1999.

16        Petitioner cannot file an appeal from his conviction and

17   sentence pursuant to 18 U.S.C. § 3742(a).        Petitioner appealed

18   his conviction and sentence in 1995; the Ninth Circuit affirmed

19   in 1997.

20        Petitioner’s pleading cannot be construed as a motion to

21   vacate, set aside or correct sentence pursuant to Section 2255.

22   Because Petitioner previously filed a Section 2255 motion, he

23   cannot file a second or successive Section 2255 with this Court

24   motion absent prior authorization by the Ninth Circuit Court of

25   Appeals.

26        For the reasons stated, Petitioner Luis Enrique Estrada

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1    Hernandez’s “Notice of Appeal of Final Sentence Pursuant to 18 §

2    [sic] 3742” is STRICKEN.

3    IT IS SO ORDERED.

4    Dated:   April 21, 2009                /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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